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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


     UNITED STATES OF AMERICA                    )

                                                 )
     Vs.                                         )
                                                 )              No. 3:11-cr-00012
                                                 )              Judge Wiseman
     PORTER et al                                )
                                                 )


           MOTION FOR LEAVE TO JOIN MOTION TO SUPPRESS EVIDENCE
           OBTAINED PURSUANT TO UNLAWFUL WIRE TAPS TT1 AND TT2



              Comes now Dimirti Johnson, by and through undersigned counsel, and requests

     leave of the Court to join the joint motion filed by defendants Simon and Ewing, to

     suppress evidence obtained pursuant to unlawful wiretaps TT1 and TT2, motions

     docketed 744,745. In support of this motion the defendant would aver that he is

     similarly situated and prejudiced by the evidence obtained as defendants Simon and

     Ewing.


                                                                Respectfully submitted,

                                                                s/Cynthia Morrissey Fort

                                                                Cynthia Morrissey Fort


                                   CERTIFICATE OF SERVICE

             I hereby certify a copy of the foregoing motion has been delivered
     electronically through the cm/ecf filing system to A.U.S.A Sunny A.M. Koshy on this
     the 7th day of May, 2012.
                                                               s/Cynthia Morrissey Fort
                                                               Cynthia Morrissey Fort



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